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4
     Attorney for Defendant
5    KHAMLE KEOVILAY
6
7
                              IN THE UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                  )   Case Nos. CR.S. 09-222 and 09-223-TLN
11                                              )
                                Plaintiff,      )   STIPULATION AND [PROPOSED] ORDER
12                                              )   TO RELEASE DEFENDANT FROM PRE-
     v.                                         )   TRIAL SUPERVISION
13                                              )
     KHAMLE KEOVILAY et. al.                    )   Judge: Hon. Edmund F. Brennan
14                                              )
                                Defendants.     )
15                                              )
                                                )
16
17          It is hereby stipulated and agreed to by the United States of America through HEIKO P.
18   COPPOLA, Assistant United States Attorney, and defendant, KHAMLE KEOVILAY, by and
19
     though his counsel, DENNIS S. WAKS, that Mr. Keovilay be released from Pre-trial
20
     supervision. Pre-trial Services Officer Darryl Walker has informed Counsel for the Government
21
     and Defense Counsel that he supports this recommendation based upon the fact that Mr.
22
23   Keovilay has been on supervision since February 7, 2014, has not had any violations, does not

24   have a passport, and has no criminal history or failures to appear. The unsecured bond will
25   remain in effect.
26
            //
27
            //
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1          IT IS SO STIPULATED
2    DATED: November 6, 2014
3
                                       Respectfully submitted,
4
5                                      /s/ Dennis S. Waks

6                                      DENNIS S. WAKS
                                       Attorney for Defendant
7                                      KHAMLE KEOVILAY

8
9
     DATED: November 6, 2014
10                                     BENJAMIN B. WAGNER
                                       United States Attorney
11
12                                     /s/ Dennis S. Waks for

13                                     HEIKO P. COPPOLA
                                       Assistant U.S. Attorney
14
15
16                                    ORDER

17
18           IT IS SO ORDERED.

19   DATED: November 7, 2014.
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28

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